 Case 5:12-cr-00014-MFU-JCH          Document 699       Filed 03/09/17     Page 1 of 9
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                                                                                                     .s
                                                   Crim inalA ction N o. 5:12CR000147          CLERX
AN TON IO DEM ETRIUSW ILLIAM S )
                               )
                               )                   M EM O M N D U M O PIN IO N
                               )
UN ITED STATES OF AM ERICA, )                      By:M ichaelF.U rbansld
     Respondent.               )                   United StatesDistrictJudge
       Antonio D em etriusW illiam s,a fcdetalinm ateproceeding pro K ,hasfiled am otion
                                                                      .




to vacate,setaside,orcorrecthissentencepursuantto28U.S.C.j2255.Hehasraised two
ineffectiveassistanceclaims:(1)counselfailed toadvisehim thathefaced amandatorylife
sentenceifajuryfound him gtziltjrattrial;and (2)counselfailed to objectto the
government'sfiling ofanoticeunder21U.S.C.j851,whichnecessitated alifesentenceifhe
were found /1111 .In am em orandum opinion entered on N ovem ber15,2016,thecourtset

an cvidentiary hearing to develop the record with regard to W illiam s:firstclaim .The court

found W illiam s'second claim unavailing butallowed thepartiesto file supplem entalbriefing,

in theeventthattherewereadditionalissuesto address.N o additionalbriefing wasfiled.An

evidentiaryhearing w asconducted on February 15,2017.A fterhearing the evidenceand

reviewing the entirerecord,thecotlrtconcludesthatW illiam shasnotstated any m eritorious

claim forteliefunderj2255and thatthegovernment'smotionto disnaissmustbegranted.
                                              1.

       O nApril19,2012,afederalgzand jurychargedW iltiamsand othercodefendantsin a
29-countindictm entwith narcoticstrafficldng crim es,including conspiracy to distributeand

m anufacture 280 gram sorm ore ofa rnixture and substance containing a detectable am ount

ofcocainebase,in violationof21U.S.C.jj841(a)(1)and841(b)(1)(A).Thecourtappointed
  Case 5:12-cr-00014-MFU-JCH              Document 699          Filed 03/09/17        Page 2 of 9
                                         Pageid#: 12781



counsel(f<fitstcounsel77)forW illiamsonApril25,2012,and an initialappearanceand
atraignm entwereconductedthenextday.Atthattime,thegovetnmenthad notyetfiled aj
851 noticeregardingW illiam s'ptiotdrug convictions,butorally announced atthe

arraignm entthatit:<w 111be filing notice ofan 851 enhancem entin thiscase asw ell.So in

thatcasethetninimum islife,themaximum islife.''InitialAppeatance/ArraipamentTr.y
ECF N o.643,at9.Thecourtadvised W illiam sasfollows:

                  TH E COURT: M r. W illiam s, if you are convicted of
                  participating in the crinlinal conspiracy alleged in Count O ne
                  againstyou,the governm enthasindicated today thatitintends
                  before that tlial to file what's called an 851 notice.They are
                  saying that you havc two or m ore felony - prior felony drug
                  offcnses.lfyou areconvicted ofparticipating in thisconspiracy,
                  you m ustbe sentenced to life im prisonm entin this case.Any
                  you willalso be subjectto afinein theamountof$10 lnillion?
                  D o you understand?

                  TH E D EFE N D A N T : Y es,sir.

J-i at9-10.On M ay23,2012,thegovernmentfiled aninformation notice,pursuantto21

U.S.C.j851,seeldngan enhanced sentenceforW illiamsbased on histavopriorFlorida
felonydrugconvictions.lj851Notice,ECF No.96,at1.
         Atsom e pointthereafter,thc governm enttendered to W illiam s'fltstcounseladraft

plea agreem entproviding thatW illiam swould agree to plead guilty to onecountof

conspitacy to distributeand m anufacture280gram sorm oreofcocainebaseand one count

ofdistributing cocaine base.PleaAgree.,ECF N o.628-2,at1-2.In exchange,the

governmentwouldclisrnisstheremaining counts,and,importantly,would dtopitsj851
enhancem entnoticeasto oneofW illiam s'tavo priorFlorida felonydrug offense

lAsnoted in footnote 1 oftheN ovem ber15,2016 mem orandum opinion,ECF No.687,the Virginia conviction did
notqualifytoenhanceWilliams'sentenceundet21jU.S.C.841(b)(1)(A),asitwasnotiinalbeforehecommittedthe
offense in thiscase.
  Case 5:12-cr-00014-MFU-JCH         Document 699        Filed 03/09/17    Page 3 of 9
                                    Pageid#: 12782



convictions,reducing hism andatorynninim um sentence from life to taventyyears'

incarceration.Id.at3-4.

       In August2012,W illiam sm oved fornew counsel,claitning thathe wasexperiencing

irreconcilable differenceswith hisfirstcounsel.M otîon to AppointN ew Counsel,ECF N o.

155.Afterahearing on August9,2012,thecourtappointed anotherlawyer(fftrialcounsel'')
forW illiam s.CritninalM inutes,ECF N o.162.A few daysafterhisappoin% ent,trial

counselm etwith W illiam sand discussed thegovernm ent'sproposed plea agreem ent.

W illiamsrejected thegovernment'sproposed pleaagreement,indicatingthathewanted to
proceed to trial.W hile counselwaspteparing fortrial,thegovernm entoffeted thepleadeal

to W illiam sa second tim e.W illiam scountered vvith aplea agreem entcapped atten years,

which thegovernm entdeclined.

       W illiam s'case wastried in O ctober,2012,and averdictofgttiltwasrendered on

N ovem ber1,2012.A juryfoundW illiamsguiltyofconspiracyto distzibuteand manufacture
280gram sorm oreofcocainebase,and sixcountsofdistribution ofcocainebase.Jury
Verdict,ECF N o.329.Asreqtzired bylaw,the courtsentenced W illiam sto am andatory life

sentence.Judgment,ECF No.432,at3.Williamsappealed to theFourth CitctzitCourtof
Appeals,w hich affitm ed hisconviction and sentence.United Statesv.W illiam s,554 F.

App'x 128,133 (4th Cir.Feb.4,201$.Healso filed apetition forawritofcertiorarito the
Suprem e CourtoftheU nited States,which wasdenied.W illiam sv.United States,134 S.Ct.

2715gune2,2014).
       W illiamstimely filed hisj2255motion in thiscourt.On Februat'y 15,2017,thecoutt
held an evidentiary hearing regarding Nvilliam s'claim thattrialcounselfailed to advisehim


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  Case 5:12-cr-00014-MFU-JCH         Document 699       Filed 03/09/17    Page 4 of 9
                                    Pageid#: 12783



thathe faced am andatoty life sentence ifconvicted.A tthehearing, W illiam stestified thathe

reeeived acopy ofthe indictm entagainsthim and the draftpleaagteem entfrom flzst

counsel,butdid notreceiveanycotrespondence ftom ttialcounsel.H estated thathe m et

with trialcounselthreeotfouttim es.W illiam sacknowledged thattrialcounseladvised him

thathewasfacing a sentencexvith a m aximum term oflifeim ptisonm ent,butdisagteed that

ttialcounseltold him thata life sentencewasm andatory.W illiam sfurthettestm ed thattdal

counseldid notexplain to him thesignificanceofthej851notice,and thathefound out
thatthe notice required am andatory life sentence onlyafterhegotto prison.

      Trialcounselalso testified.He stated thathe fltstm etwith W illiam son August15,

2012,shortly afterhisappointm ent.Trialcounselstated thathe treated thatfltstm eeting as

ifitwerethebeginning ofthe case,even though W illiam spreviously had been represented.

Trialcounseltestified thathe discussed variousscntencesthatW illiam scould face.He

explained thatthe ptoposed plea agreem cntwould litnitW illiam s'sentencing exposure to

twcntyyearsto life.Trialcounselexplained thatifW illiamsproceededto trialand ajury
found him gtlilty,hewould receive am andatory life sentence.W illiam sindicated thathew as

notinterested in accepting theproposed pleaagreem ent.Trialcounseltestificd thatthenext

few m eetingswith W illiam swere spentpreparing fortrial.In O ctober,the governm ent

contacted trialcounseland advised him thatthe proposed plea agreem entwasstillavailable

ifW illiam shad anyinterestin it.Trialcounselm etwith W illiam son O ctobe.
                                                                          r8,2012,and

again discussed the proposed pleaagteem ent.Trialcounseltalked to W illiam sonce m ore

aboutpossible sentences,including thetwentyto life sentence thathe could receive by

sigrting the plea agreem entasopposed to am andatory lifesentenceiffound guilt)rattrial.
  Case 5:12-cr-00014-MFU-JCH       Document 699       Filed 03/09/17     Page 5 of 9
                                  Pageid#: 12784



W illiam sindicated thathewould notacceptthe pleaagreem entwith at'wenty-yeat

m andatoty rninim um sentence,and asked t4ialcounselto counterwith a pleaagteem entfora

ten-year sentence.The governm entdid notacceptW illiam s'counteroffer.

                                           Il.

      Tostateaviableclaim forreliefunderj2255,apetitionermustprove:(1)thathis
sentencewasddimposedinviolationoftheConstitution orlawsoftheUnited Statesi''(2)
that(tthecourtwaswithoutjurisdiction to imposesuch sentencei''ot(3)thattfthesentence
wasin excessofthemaximum authorized bylaw,orisothetavisesubjcctto collateralattack.'?
28U.S.C.j2255$).W illiamsbearstheburden ofprovinggroundsforacollatetalattackby a
preponderanceoftheevidence.Millerv.UnitedStates,261F.2d 546,547 (4th Cir.1958).
      Crinainaldefendantshavea Sixth Am endm entrightto effectivelegalassistance.

Stricklandv.W ashin ton,466U.S.668,687 (1984).Thepropervehicleforadefendantto
raiseanineffectiveassistanceofcounselclaim isbyfilingaj2255motion.UnitedStatesv.
Ba tiste,596 F.3d214,216n.1(4th Cir.2010).However,ineffectiveassistanceclaimsare
notlightlygranted;ffgtjhebenchmarkforjudginganyclaim ofineffectivenessmustbe
whethetcounsel'sconductso underrnined the properfunctioning ofthe adversarialptocess

thatthe(proceedingjcannotberelied on ashavingproduced ajustresult.''Strickland,466
U.S.at686.Accotclingly,in orderto establish aviable claim ofineffectiveassistanceof

counsel,adefendantm ustsatisfy b0th requirem entsofa two-prong test,dem onstrating

thatcounsel'sperform ancefellbelow an objectivestandard ofreasonablenessand
establishingprejudicedueto counsel'sallegeddeficientperformance.1d.at687.W hen
considering the reasonablenessprong ofStricldand,courtsapply aJ'strong presum ption that


                                           5
  Case 5:12-cr-00014-MFU-JCH        Document 699       Filed 03/09/17     Page 6 of 9
                                   Pageid#: 12785



counsel'sconductfallswitlain thewiderangeofreasonable professionalassistance.''10,at

689;Gta v.Branket 529F.3d 220,228-29(4th Cir.2008).Counsel'sperformanceisjudged
<fon the factsoftheparticulatcase,':and assessed fffrom counsel'sperspectiveatthe tim e.':

Strickland,466 U.S.at689,690.

      To satisfytheprejudiceprong ofStrickland,adefendantmustshow thatthereisa
reasonableprobability that,butfotcounsel'sunprofessionalerrot,the outcom eofthe

proceeding would havebeen different.Id.at694.d<A reasonableprobabilityisaprobability

sufficientto underrnine confidencein theoutcom e.''ld.W illiam s'claim sofineffective

assistance ofcounseldo notsatisfy Strickland'sstringentrequitem ents.

                 Advice Regarding M andatory Life Sentence

      W illiam sclaim sthathereceived deficientrepresentation because trialcounselfailed

to explain to him thathefaced astatutorymandatorylifesentenceifajuryfoundhim gtzilty.
A person convicted ofconspiracy to distribute and m anufacture m orethan 280 gram sof

cocainebasefacesastatutonrnlinimum sentenceoftenyearsto lifein prison.21U.S.C.j
841(b)(1)(A).However,ifadefendanthaspreviouslybeenconvictedofonefelony drug
offense,the defendantfacesan increascd statutory penaltyrangeoftwentyyeatsto lifein

ptison.1d.Ifthe defendanthaspreviously been convicted oftwo orm ore felony drtzg

offenses,thedefendantfacesat<m andatory term oflifeim prisonm entwithoutrelease.''Id.

BecauseajuryfoundW illiamsguiltyofadrugconspiracyandhehad t'wo priorfelonydrug
convictions,hisstatutory m andatoryrninimum sentenceincreased to lifeim ptisonm ent.

      The courtdoesnotfind credibleW illiam s'claim thattrialcounselneverexplained the

m andatorylifesentcnce thathefaced should ajuryfindhim guilty.W ilhamsadnaitsthat

                                            6
     Case 5:12-cr-00014-MFU-JCH      Document 699       Filed 03/09/17    Page 7 of 9
                                    Pageid#: 12786



counselexplained thathecould facea life sentence,butnotthata guiltyverdictw ould

reqlzire alife sentence.N otonly wasW illiam sadvised by thecourtthatifconvicted,he
Tf
 m ustbe sentenced to lifeim prisonm ent,''ECF N o.643 at9,the courtfully creditstlial

counsel'stestim ony thathe told W illiam sthathe faced m andatory life ifconvicted.Given

thecourt'sadmonition to W illiamsatlaisinitialappearance/arraignmentand thetestimony
ofhisttialcounsel,thecourtfindsW illiam s'testim ony thathe wasnotawarethathefaced

m andatorylifenottobecredible.SeeUnited Statesv.Locklear,829F.2d 1314,1317 (4th
Cir.1987)(itistheprovinceofthedistrictcourtto makefactualdeterminationsathearings
and suchdetertninationsdeset
                           aredeference).
        W illiam sarguesthathisten-yeatcounterofferto the twenty-yearplea dealoffered by

thegovetnm entshowsthathe did notunderstand thata life sentencew asthe m andatory

resultofaverdictofguiltattrial.W hileW illiam s'argum enthassom e persuasive appeal,it

doesnotnecessarily follow thathisbargaining foraten-year sentence m eansthathe did not

understand thatalife sentencewasm andatory were he to loseattrial.W hileitm ay be

difficultin hindsightto fathom how W illiamscould haverejected thegovernm ent'sofferof
a plea agreem entteducing hism andatorynninim um sentence from lifcto twenty years,the

evidencepresented atthehearing convincesthecourtthatW illiamsdidjustthat.z
        Accordingly,W illiam shasnotshown thattrialcounsclprovided nlisleading advice

thatcaused him toproceed to tlial.United Statesv.M erritt,102F.App'x 303,307 (4th Cir.
2004)(noting thatforadefendanttoprevailon an ineffecdveassistanceofcounselclaim,
thedefendantm ustshow thathewould haveaccepted aplea agreem entbutforhistrial
  Case 5:12-cr-00014-MFU-JCH         Document 699       Filed 03/09/17    Page 8 of 9
                                    Pageid#: 12787



counsel's<fgrosstnisadviceregardinghissentencing exposure').Becausethecourtinformed
W illiamsathtsinitîalappearance/atraignmentthathefacedamandatorylifesentence,and
becausethecouttcreditstrialcounsel'stestim ony thatheinfotm ed W illiam softhe

m andatory life sentence hew ould receiveiffound gtzilt),,W illiam shasnotestablished that

trialcounsel'sconductTffellbclow an objectivestandardofreasonableness.''Strickland,466
U .S.688.

              2. PriorFelony D rug Convictions

       ln itsN ovem ber15,2016m cm orandum opinion,the courtstated:

              A fter exhaustively exarnining the issue of whethet W illiam s'
              Florida 2008 and 2009 Possession of Cocaine convictions
              qualify as felony drug offensesunder21 U.S.C.j 802/4),the
              courtm ustconclude thatthe m andatory life sentence im posed
              on W illiam s,however incongtuousin lightofthe brevity ofhis
              predicate state convictions,was lawful.N evertheless,because
              neithet party has had a chance to fully brief the issue of the
              qualification ofW illiam s'priorstate courtconvictionsunder21
              U.S.C.j802/4),and becauseoftheimportanceofthisissueto
              W illiam s' sentence, the coutt will allow W illiam s' appointed
              habeas counsel to file a supplem ental brief addressing these
              issues thirty (30) days before the evidentiary hearing is
              scheduled.

ECF N o.687,at16.W illiam s'habeascounselindicated thatheinvestigated the issueand

found no basisupon which to file a supplem entalbrief Assuch,the N ovem ber15,2016

orderresolvesclaim tavo.BecauseW illiam s'tavo Floridadt'
                                                        ug convictionsqualify asfelony

drugoffensesunder21U.S.C.j841$)(1)(A),trialcounsel'sfailureto objectto them does
notconstit-uteineffectiveassistanceofcounsel.Strickland,466 U.S.at687 rfthedefendant
mustshow thatcounsel'sperformancewasdeikient').
                                           111.
  Case 5:12-cr-00014-MFU-JCH      Document 699         Filed 03/09/17   Page 9 of 9
                                 Pageid#: 12788



      Forthe reasonsstated herein,the courtw4llgrantthegovernm ent'sm otion to distniss

W illiams'j2255petition.An appropriateorderwillbeentered tlaisday.
      Because W illiam shasfailed to m akea substantialshowing ofthe denialofa

constitutionalrightasrequired by28U.S.C.j2253(c),acertificateofappealabilitywillbe
denied.
                      Km
                       t
      EN TE R:This         day ofM arch,2017.

                                       /w/* rs,
                                              rr'/.W V-VV'
                                                   '




                                              United StatesDistrictJ e




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